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                          Expert Report on Behalf of MALDEF
             League of United Latin American Citizens, et al v. Greg Abbott, et al
                         Case No. 3:21-cv-00259-DCG-JES-JVB
                  Corrected Supplemental and Amended Expert Report
                              of Dr. Maria Cristina Morales
                    August 30, 2022 (Replacing June 15, 2022 Report)



Introduction
 1.   My name is Dr. Maria Cristina Morales and I am over the age of eighteen (18) years. I have

      never been convicted of a crime and am fully competent to express the opinions below. The

      following facts are within my personal and professional knowledge and are true and correct.

 2.   I am a Professor of Sociology in the Department of Sociology and Anthropology at the

      University of Texas at El Paso. I have been employed at University of Texas at El Paso for

      fifteen years and previously served as an Assistant Professor of Sociology at the University

      of Nevada Las Vegas. I teach undergraduate classes in International Migration, Mexicans

      and Chicanos in the U.S. Introduction to Sociology, and Social Inequality. At both graduate

      and undergraduate-levels, I teach Measures of Inference which is a statistics course.

 3.   I received my Ph.D. from Texas A&M University in 2004 with examination fields in

      General Demography and Race and Ethnicity. I have published numerous journal articles,

      book chapters, commentaries and book reviews, along with a monograph examining the

      demographic patterns of Latinos in the U.S., as well as presented papers on U.S.-Mexico

      border and immigration trends, occupation and labor trends of Latinos, and the experiences

      of women on both sides of the U.S.-Mexico border. Throughout many of my published

      pieces, I have utilized U.S. census data to examine Latino demographic trends, linguistic

      occupation segregation of bilinguals, Latino dropout rates, demography of race and ethnic

      groups in the U.S., and wage returns. Additionally, I have used other quantitative data


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      sources to study racial and citizenship profiling, delinquency, family violence, among

      others.

 4.   The Mexican American Legal Defense and Educational Fund has retained me on behalf of

      plaintiffs as an expert witness in the matter currently before the court. I am being paid a fee

      of $150 per hour plus reasonable expenses for my work.

 5.   I was retained to examine and offer my opinion regarding demographic characteristics of

      demonstrative districts offered by LULAC Plaintiffs in this case.

 6.   My opinions are based upon a review of the demonstrative districts based on 2016-2020

      American Community Survey 5-year Estimates on:

           a. % Renter –Table: B25003: TENURE

           b. % HS Diploma –Table B15002: SEX BY EDUCATIONAL ATTAINMENT
              FOR THE POPULATION 25 YEARS AND OVER

           c. % LEP (Limited English Proficiency) – Table B16005: NATIVITY BY
              LANGUAGE SPOKEN AT HOME BY ABILITY TO SPEAK ENGLISH FOR
              THE POPULATION 5 YEARS AND OVER

           d. % Poverty (Below Poverty Level) – Table B17020: POVERTY STATUS IN THE
              PAST 12 MONTHS BY AGE

           e. % Unemployed (of those within the Labor Force) –Table B23001: SEX BY AGE
              BY EMPLOYMENT STATUS FOR THE POPULATION 16 YEARS AND
              OVER

           f. % Per Capita Income–Table: B19301: PER CAPITA INCOME IN THE PAST 12
                MONTHS (IN 2020 INFLATION-ADJUSTED DOLLARS)


7.     This report provides demographic information of LULAC Plaintiffs’ demonstrative

districts. I make observations regarding the following socioeconomic characteristics in each

demonstrative district: (1) a population and race and ethnicity overview including the total

population, citizen voting age population in Texas by race and ethnicity, and percentage of Limited



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English Proficient persons and (2) a socioeconomic profile including indicators of education,

poverty, occupancy renters, and unemployment. The analysis focuses on Congressional Districts

27, 37, and 38, House Districts 44, 81, and 138, State Board of Education 6, and Senate Districts

9 and 28.


                                      House Districts (HD)

                                        House District 44

Population and Race and Ethnicity. House District 44 has a total population of 186,042 and a
Latino citizen voting age population of 52.46 percent. It is located in Central Texas, including the
geographic area including portions of Caldwell, Guadalupe, Hays and Travis counties. The citizen
voting age population for the remaining race and ethnic groups include: 39 percent Anglo, 5.9
percent Black, and 1.2 percent Asian. Most of this population in HD44 are English proficient,
residing in communities that are only between 0 to 16.67 percent limited English proficient. To a
lesser extent, there are some census places with 16.67 to 33 percent of individuals that are limited
English proficient (e.g., in and around the vicinities of Guadalupe, Martindale, Kyle, and Mustang
Ridge).

Socioeconomic Status. Socioeconomic status is not solely about income, but also about other
factors that can determine the level of pay or salary that individuals can make. One such factor is
educational attainment. The map on the Percent High School Diploma or Better for HD44 shows
that most of the population in this HD are located in regions where 83.40 percent or more of the
population have a high school diploma or higher. To a lesser extent, it also includes census places
where 66.7 to 83.4 percent of the population have at least a high school diploma (i.e. parts of
Seguin, Redwood, Martindale, San Marcos, Kyle, Uhland, Mustang Ridge). In and around the
vicinity of the cities of Uhland and Mustang Ridge there are communities where between 50 to
66.7 percent of the population at least have a high school. There are no regions where less than 50
percent of the population have a high school diploma or better. The percent renter or the percent
of occupied housing units that are being rented is another indicator of socioeconomic status. The
overwhelming majority of individuals in HD44 reside in areas where 16.60 to 33.4 percent of
individuals are renting vs. owning their homes. The percent unemployment is largely below 7.5
percent for HD44, but there is an area south of Redwood where the unemployment is 7.5 to 10
percent. The percent living below poverty for HD44 is largely 5 to 15 percent. There are some
smaller areas where the percent below poverty is below 10 percent distributed in the southern,
middle, and northern part of HD44. The majority of HD44 has a per capita income of $30,000 and
below.

                                       House District 129


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Population and Race and Ethnicity. The total population for HD 129 is 185,082 and the
percentage of Latino citizens of voting age is 51.15 percent. The remaining citizens of the
voting age are 24.1 percent Anglo, 13.5 percent Black, and 9.6 percent Asian. The limited
English proficient population in most of HD129 is 30 percent or less.

Socioeconomic Status. The population with a high school diploma or better in HD129 is largely
over 66.7 percent or higher. The distribution for the percent below poverty in HD129 seems to
represent an inverted bell-curve where there are concentrations with low poverty (0 to 5%) and
high poverty (25 to 100%). In regards to rental occupancy, there is a sizable portion of areas
with low percentage of renters 0 to 25 to low-moderate 25 to 40 percentages. Yet, there are areas
that are 66 to 75 percent of renters that are spread throughout HD129. The percent
unemployment is largely below 7.5 percent, although there are some areas along Beltway 8 with
high employment (10 to 100%). In some areas, however, communities with low and high
poverty reside close to each other. The other below poverty categories, e.g. 5 to 10, 10 to 15, 15
to 20, and 20 to 25, seem to be about equally represented and scattered throughout HD129.
Nearly all of HD129 has a per capita income of $30,000 and below.

                                        House District 138

Population and Race and Ethnicity. The total population for HD138 is 195,717 and the percentage
of Latino citizens of voting age is 51.35 percent. It is located in the area of Harris county. The
race and ethnic breakdown for the remaining citizen voting age population is 17.1 percent Anglo,
19.4 percent Black, and 11.3 percent Asian. Most of the region is between 16.67 to 50 percent
limited English proficient. HD138 also includes a region east of I-45 that is over 50 percent LEP.

Socioeconomic Status. Most of the population in HD138 resides in areas where over 50 percent of
the population has a high school diploma or higher. A smaller area west of I-45 has 33 to 50
percent of the population with a high school diploma or beyond. There is a small community
where the population with diplomas is 16.67 percent or below. Most of HD138 has a low renter
occupancy(40 percent or below), but there are smaller areas that are above 40 percent.. The percent
of the population that is unemployed in HD138 is low (0 to 5%) to low-moderate (5 to 7%). The
majority of HD138 is located in areas where the percent of the population below poverty is over.
20 percent. There are some areas with 5 to 10 percent of people below poverty in the lower half of
HD138 and one area that has poverty percentages below 5 in the center of HD138. Most of HD138
has a per capita income of $30,000 and below.

                                      Senate Districts (SD)

                                         Senate District 9

Population and Race and Ethnicity. Senate District 9 has a total population of 906,415 and Latinos
represent 51.25 percent of the citizen voting age population. It is located in the area of Dallas and


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Tarrant counties. The race and ethnic distribution for the citizen voting age of the remaining
groups are: 20.2 percent Anglo, 24.3 percent Black, and 2.6 percent Asian. The majority of the
population in Senate District 9 resides in regions that are between 16.67 to 33 percent and 33 to
50 percent limited English proficient (LEP).

Socioeconomic Status. Most of the residents in Senate District 9 have at least a high school
diploma. In particular, the vast majority of SD 9 consists of areas where 50 to 66.7 percent and
66.7 to 83.4 percent of the population have a high school diploma or higher. These representations
of the population with a high school diploma or beyond are below the Texas average of 84.4
percent (according to the U.S. Census population estimates July 1, 2021). While the population in
SD9 is relatively homogeneous in terms of educational attainment, there are a couple of areas
where the percentage of high school diploma or better is above 83.4 percent in the middle of SD 9
and a small area in Fort Worth. Regarding renter occupancy, SD9 has areas where 25 to 40 and
40 to 50 percent of the population are renters. There are some small areas where the percentages
are above and below this range distributed throughout SD9. A large portion of SD9 has a low (0
to 5%) to low-moderate (5 to 7.5%) unemployment. Most of SD9 contains areas where 20 percent
or more people are living below poverty. The majority of SD9 has a per capita income of $30,000
and below. There is a smaller area in the middle with per capita income of $50,000 or above.

                                       Senate District 28

 Population and Race and Ethnicity. The total population of Senate District 28 is 917,001 and the
Latino citizen voting age population is 51.98%. It is located in the area of South/Central Texas,
including the geographic area including portions of Bastrop, Bexar, Comal, Caldwell, Guadalupe,
Hays and Travis counties. The race and ethnicity of the remaining citizen voting age population
are 34.5 percent Anglo, 10.3 percent Black and 34.5 percent Asian. Most of the population are in
locations that are 0 to 16.67 percent limited English proficient (LEP) and some small communities
that are 16.67 to 33 percent LEP. Overall, the vast majority of SD28 is proficient in English.

Socioeconomic Status. In the most populous areas of Senate District 28 the percentage of high
school diploma or higher is above 50 percent. In particular, the range of percent of the population
with a high school degree or higher is 50 to 83.4 percent. Most of SD28 is below the Texas average
(37.7) of rental occupancy. In regards to unemployment, most census places that are in Bexar
County have low unemployment with 0 to 5 percent or 5 to 7 percent. The areas that are closer to
Travis County have low levels of unemployment that are comparable to the SD28 area in Bexar
County. As indicative of the working poor, while unemployment levels in the portions of Bexar
County in SD28 are relatively low, the percentage in poverty is high. Most of SD28 has areas that
are above the Texas poverty average of 13.4 (U.S. Census population estimated on July 1, 2021).
SD28 portion in Bexar County mostly consists of areas with the percent below poverty is 15
percent or higher. Similar trends are found in areas approaching Travis County with the percent
below poverty ranging between 5 to 20 percent. The least populated regions of SD28 have low or



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low-moderate levels of poverty. Most of the population in SD28 resides in areas with a per capita
income of $40,000 and below.

                           State Board of Education District (SBOE)

                           State Board of Education District (ED) 6

 Population and Race and Ethnicity. State Board of Education District 6 has a total population of
1,879,916 and a Latino citizen voting age population of 61.85%. It is located in the area of Harris
County. The citizen voting age population of other groups are: 21.5 percent Black, 18.4 percent
Anglo, and 6.9 percent Asian. Most of the percentages of limited English proficiency are moderate
with a range of 16.67 to 50 percent.

Socioeconomic Status. In ED6 most of the population is located in regions where 50 to 66.7
percent and 66 to 83.4 percent of the population have a high school diploma or above. There is a
low to low-moderate percentage of renters in ED6 which signals there is a significant amount of
home ownership. For most of ED6 the levels of unemployment are below 10 percent. The
majority of areas in ED6 have 20 percent or more of the population living below poverty. The
majority of the population in ED6 resides in areas with a per capita income of $30,000 and below.

                                 Congressional Districts (CD)

                                 Congressional District (CD)27


Population and Race and Ethnicity. The total population for Congressional District 27 is 766,987
and the Latino citizen voting age population is 50.67 percent. It is located in the area of
South/Central Texas, including the geographic area including portions of Nueces, San Patricio,
Bee, Goliad, Karnes, Gonzales, Caldwell, Bastrop, Travis and Williamson counties. The race and
ethnic distribution across the citizen age population for the remaining groups are 35.7 percent
Anglo, 9.3 percent Black, and 2.8 percent Asian. This Congressional District is largely proficient
in English, with almost all areas being 0 to 16.67 percent limited English Proficient.

Socioeconomic Status. There are high to high-moderate levels of percent high school diploma or
better in CD 27. Almost all the areas in CD27 have areas that are over 66.7 percent or higher in
terms of percentage of high school diploma or better. CD27 also has low percentages of renters
with levels of 0 to 25 percent and 25 to 40 percent. CD27 has low unemployment. The majority
of CD27 has a population with less than 5 percent unemployment. Most of the areas in CD27 have
10 to 15 percent of people living below poverty. About a third of the areas have less than 10
percent of people living below poverty spread throughout CD27. Most of the per capita income
of CD27 is between $40,000 to $20,000. There is an area in the middle where the per capita
income is higher at$40,000 to $50,000.


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                                 Congressional District (CD)37

Population and Race and Ethnicity. Congressional District 37 has a total population of 766,987
and the Latino citizen voting age population is 54.04 percent. It is located in the area of Dallas
and Tarrant counties. The race and ethnic distribution for the citizen voting age of the remaining
groups are: 26.1 percent Anglo, 16.2 percent Black, and 2.3 percent Asian. Most of CD37 is
proficient in English. The most populous areas of CD37 are 16.67 to 33 percent and 33 to 50
percent limited English proficient.

Socioeconomic Status. The majority of CD37 has areas that are above 50 percent in terms of
population with a high school diploma or better. Specifically, most areas have between 50 to 66.7
percent of individuals with a high school diploma or better. Trailing close behind are areas where
66.7 to 83.4 percent of residents have at least a high school diploma. The percentage of housing
occupied by renters is mostly less than 50 percent. The range in rental occupancy is 16.6 percent
and below to 33.4 to 50 percent, found spread across CD37. In regards to unemployment, there
are several areas with low unemployment percentages (0 to 5%), there are also areas with above
10 percent unemployment. The majority of areas in this CD consists of populations that are over
20 percent below poverty. Most of CD37 has per capita income that is $20,000 and below and
there are some areas with a per capita income of $20,000 to $30,000 scattered throughout the CD.
To a lesser extent there are a few areas in CD37 where the per capita income is $50,000 or above
located mostly in the middle of the district.

                                 Congressional District (CD)38

Population and Race and Ethnicity. The total population for Congressional District 38 is 766,987
and the Latino citizen voting age is 51.75 percent. It is located in the northwest area of Harris
county. The representations of Anglos and Blacks among the citizens of voting age are each 21
percent and the percentage of Asians is 5.5. Most of the areas in CD38 have 16.67 to 33.0 percent
Limited English Proficient (LEP). To the east of I-45, however, there are notable areas where the
percentage of LEP is above 66.70.

Socioeconomic Status. The percent of high school diploma or better for most of CD38 is 50 percent
and above. To the west and around Highway 290, educational attainment is high with the majority
of areas having at least 66.7 percent of individuals with a high school diploma and beyond. West
of I-45 there are some areas with moderate percentages of residents with at least a high school
diploma (33.0 to 50.0%). In regards to rental occupancies, there are a sizable number of areas with
a low (0 to 25 percent) and moderate (25 to 40%) percentage of renters but there are also areas
where over 60 percent of occupants are renters. The percent of unemployed are generally below
7.5 percent in most CD38, with a few exceptions of areas with percentages of renters above 7.5.
In terms of percent of the population below poverty, outside of Beltway 8 most of the areas are
economically established and the percentage below poverty is less than 10 percent. Otherwise, the


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remainder of the areas have above 25 percent of residents living below poverty. The majority of
CD38 has a per capita income of $20,000 and below and $20,000 to $30,000.

I state under penalty of perjury that the foregoing is true and correct.

Executed on: August 30, 2022




Maria Cristina Morales, Ph.D.




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                                       Cristina Morales

                                University of Texas at El Paso
                           Department of Sociology & Anthropology
                                 El Paso, Texas 79968-8900
                                    mcmorales@utep.edu


Academic/Professional Appointments

Professor, Department of Sociology & Anthropology, University of Texas at El Paso. Fall 2020.

Associate Dean of Research, College of Liberal Arts, University of Texas at El Paso. Spring
2019-present.

Associate Professor, Department of Sociology & Anthropology, University of Texas at El Paso.
Fall 2012- Present.

Graduate Director, Department of Sociology & Anthropology, University of Texas at El Paso.
Spring 2013-2016, 2018.

Assistant Professor, Department of Sociology, University of Las Vegas Nevada. Fall 2004- June
2006.

Academic Training

Texas A&M University                        Sociology: Ph.D.      2004
Texas A&M University                        Sociology: M.S.       1999
University of Texas at El Paso              Psychology: B.A.      1996
University of Texas at El Paso              Sociology: B.A.       1996

Awards and Honors

Paper Award. “The Influence of Citizenship Profiling on Police Legitimacy.” Southwestern
Sociological Association, 2019.
President. Southwestern Sociological Association, 2018-2019.
UTEP Academy of Distinguished Teachers, 2019.
University of Texas Regents Outstanding Teaching Award, 2016.
Border Working Paper Series Award, Center for Inter-American and Border Studies, 2016.
Mentoring Award, BUILDing SCHOLARS & College of Liberal Arts, 2015.
Rainbow Miners Teaching Excellence Award, University of Texas at El Paso, 2009.
Mentor Award from the Honors College, University of Nevada Las Vegas, 2005.
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 Lens: Vulnerable Communities at the Mexico-U.S. and Moroccan-Spanish Border Regions.” Pp.
 117-129 in El Río Bravo Mediterráneo: Las Regiones Fronterizas en la Época de la
 Globalización, edited by Natalia Ribas-Mateos. Edicions Bellaterra: Barcelona, Spain.

 Sáenz, Rogelio, Lorena Murga, and Maria Cristina Morales. 2009. “Wage Determinants of
 Mexican Immigrant Women along the Mexican-U.S. Border.” Pp.121-138 in Labor Market
 Issues along the U.S. - Mexico Border: Demographic and Economic Analyses, edited by Marie
 T. Mora and Alberto Dávila. Tucson, AZ: University of Arizona Press.

 Morales, Maria Cristina. 2008. “Immigrant Movements and the Struggle for Diverse
 Representations of Citizenship.” In Social Movements: Contemporary Perspectives, edited by
 Dianne Dentice and James L. Williams, 62-72. Newcastle, UK: Cambridge Scholars Publishing.

 Morales, M. Cristina and Cynthia Bejarano. 2008. “Border Sexual Conquest: A Framework for
 Gendered and Racial Sexual Violence.” Pp. 181-198 in Globalization in America: Race, Human
 Rights and Inequality, edited by Angela Hattery, David Embrick, and Earl Smith, Rowman &
 Littlefield.

 Sáenz, Rogelio, Cynthia Cready, and M. Cristina Morales. 2007. “Adios Aztlan: Mexican
 Outmigration from the Southwest.” Pp. 189-214 in The Sociology of Spatial Inequality, edited by
 Linda Lobao, Gregory Hooks, and Ann Tickamyer. State University of New York Press
 (SUNY).

 Sáenz, Rogelio and M. Cristina Morales. 2005. “Demography of Race and Ethnicity.” Pp. 169-
 208 in Handbook of Population, edited by Dudely Poston and Michael Mickli. New York:
 Klewer Academic/Plenum Publishers.

 Sáenz, Rogelio, Maria Cristina Morales, and Maria Isabel Ayala. 2004. “United States:
 Immigration to the Melting Pots of the Americas.” Pp. 211-232 in Migration and Immigration:
 A Global View, edited by Maura I. Toro and Marixsa Alicea, Westport, CT: Greenwood Press.

 Sáenz, Rogelio, Maria Cristina Morales, and Janie Filoteo. 2004. “The Demography of
 Mexicans in the United States.” Pp. 3-20 in Chicanas and Chicanos in Contemporary Society.
 2nd ed., edited by Roberto De Anda. Rowman and Little.

 Book Reviews, Commentaries, and Others

 Tolbert, Jessica, Maria Cristina Morales, and Nancy Plankey-Videla. “Art + Labor: Using the
 Sociological Imagination for Creativity and Understanding the Global Feminist Workforce and
 Environmental Sustainability.” Contexts: Sociology for the Public. Forthcoming.
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 Morales, Maria Cristina. 2015. “Engaging with Dr. Plankey-Videla’s We Are in This Dance
 Together: Gender, Power, and Globalization at a Mexican Garment Firm.” Journal of World-
 Systems Research, Vol. 21, 2.

 Morales, Maria Cristina. 2015. Review of Mapping "Race": Critical Approaches to Health
 Disparities Research, edited by Laura E. Gómez, Nancy López. Contemporary Sociology, 44(4):
 516-517.

 Morales, Maria Cristina. 2009. Review of Blockading the Border: The El Paso Operation that
 Remade Immigrant Enforcement by Timothy J. Dunn. El Paso Times, October 11, 2009.

 Morales, Cristina and Cheryl Howard. 2007.“The Mode.” Pp. 217-218 in International
 Encyclopedia of the Social Sciences, 2nd edition. 9 vols., edited by Darity, William A., Jr. (ed.).
 Detroit: Macmillan Reference USA.

 Morales, Cristina and Rogelio Sáenz. 2007.“Ethnic Enclave.” Pp. 2-4 in International
 Encyclopedia of the Social Sciences, 2nd edition. 9 vols., edited by Darity, William A., Jr.
 Detroit: Macmillan Reference USA.

 Morales, Maria Cristina. 2006. Review of Villa Victoria by Mario Luis Small. In Contemporary
 Sociology 35:283-285.

 Brents, Barbara, Kathryn Hausbeck, Anastasia H. Prokos, Jennifer Reid Keene, Crystal Jackson
 [student], and Cristina Morales. 2005. “Response to Lois Helmbold, “Women’s Studies in Sin
 City: Reactionary Politics and Feminist Possibilities.” NWSA Journal 17:171-6.

 Works in Progress

 Books

 Morales, Maria Cristina. Latinx Living on the Margins. (Contract with the University of
 Nebraska).

 Sáenz, Rogelio, Maria Cristina Morales, and Coda Rayo Garza. Latina/os in the United States:
 Diversity and Change, 2nd Edition. Cambridge, UK: Polity Press. (Contract for 2nd edition).

 Bejarano, Cynthia and Maria Cristina Morales. Frontera Madre(Hood). Edited book.
 (University of Arizona Press, conditional contract).


 Grants and Fellowships Activities

 External
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 Kenney, Michael (PI), Maria Cristina Morales (PI), Fernando Riosmena (PI), and Bibianna
 Mancera (PI). 2020. Metabolomics, Stress Markers, and the Healthspan of Mexican Americans
 in El Paso. National Institute of Health. [Not funded]


 Morales, Maria Cristina (PI) and Josiah Heyman (PI). 2020. Towards Improving Occupational
 Safety and Health Programs: An Assessment of the Multi-contextual Factors. NIOSH
 Exploratory/Developmental Grant Program R21. [Not funded]


 Curry, Ted (PI), Maria Cristina Morales (Co-PI), Harmon Hosch (Co-PI). 2015. No Cost
 Extension "Why are Immigrant Neighborhoods Low Crime Neighborhoods?" National Science
 Foundation. ($ 20,022).


 Curry, Ted (PI), Maria Cristina Morales (Co-PI), Harmon Hosch (Co-PI). 2013. "Why are
 Immigrant Neighborhoods Low Crime Neighborhoods?" National Science Foundation.
 ($124,998.00).

 Palsole, Sunay (PI), Maria Cristina Morales (Co-PI), and Amy Wagler (Co-PI). 2011. P 16
 Development Project. A.1.3 Strategy, College Readiness Initiatives Grant. ($165,000).

 American Sociological Association Travel Award for U.S. Participants in the International
 Sociological Association. (NSF Grant No. SES-0548370).

 National Science Foundation Dissertation Enhancement Grant (NSF Grant No. 0200752). 2002-
 2004.

 Internal

 UTEP Interdisciplinary Research and Education Program, $22,700, Seed Grant for “Research
 Collaborations with Restrictive Micro-Data” (PI: Cristina Morales; Co-PIs: Hyeun Ah Kang,
 Danielle Morales, Gregory S. Schober, and Emre Umucu), 2020-2021. Awarded in 2020;
 managed starting in 2020.

 Dean's Speaker Series for Interdisciplinary Research, $6,000.00, “Art + Labor”, Cristina Morales
 (PI) and Jessica Tolbert (PI), 2020.

 Provost Office, Research Assistant funding, $3000, Summer 2014, University of Texas at El
 Paso

 Center for Law and Human Behavior (UTEP), Research Assistant one-year funding, Ted
 Curry (PI), Harmon Hosch (Co-PI), and Maria Cristina Morales (Co-PI) on “Why are
 Immigrant Neighborhoods Low Crime Neighborhoods?”

 Provost Office, Research Assistant funding, $3000, Summer 2013, University of Texas at El
 Paso.
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 Glasscock Collaborative Grant (Texas A&M University) Plankey-Videla (PI), Maria
 Cristina Morales (COPI) and Lorena Murga (CoPI) Quality of Workplace Study of
 Contract Services Industry in Two Houston Airports, $2000.00, 2013.

 Center for Hispanic Entrepreneurship Fellow. 2008-2009. University of Texas at El Paso.
 University Faculty Travel Award. 2006-2007, University of Nevada Las Vegas.

 Conference Presentations (since 2006)


 Morales, Maria Cristina and Crystal Rodriguez [Student]. 2021. Latina/os Perception of Police
 Violence. Southwestern Sociological Association. New Orleans, LA.


 Morales, Maria Cristina and Crystal Rodriguez [Student]. 2021. Latina/os Perception of Police
 Violence. Southwestern Sociological Association. New Orleans, LA.


 Morales, Maria Cristina and Theodore Curry. 2019. “The Influence of Citizenship Profiling on
 Police Legitimacy. Southwestern Sociological Association, San Diego, CA.


 Morales, Maria Cristina. 2019. The Influence of Citizenship Profiling on Policing: A Multi-
 level Study in Trust in Police Effectiveness. American Sociological Association, New York
 City, NY.


 Garcia, Gisselle [student] and Maria Cristina Morales. 2018. “Student Placement in At-Risk
 Schools: The Role of Mental Health and Ethnicity.” Southwestern Sociological Association,
 Orlando, FL.


 Morales, Maria Cristina, Cynthia Bejarano, María Eugenia Hernández Sanchez, and Marisol
 Rodríguez Sosa/ 2018. “Panel: Mothering on the Border” Mujeres Activas en Letra y Cambio
 Social, El Paso, Texas.


 Morales, Maria Cristina. 2018.”Madres Fronterizas: Parenting in the Backdrop of Oppressive
 Structures.” Association of Borderland Studies. San Antonio, Texas.


 Morales, Maria Cristina and Denise Delgado [student]. 2017. What Is Your Citizenship?”
 Southwestern Sociological Association, Austin, TX.


 Sáenz, Rogelio and Maria Cristina Morales. 2016. Author Meets Critics: Latinos in the United
 States: Diversity and Change. Southwestern Sociological Association, Las Vegas, NV.
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 Morales, Maria Cristina and Eric Murillo [student]. 2016. “Gendered Dimensions of Wage Theft
 along the Borderlands.” Southwestern Sociological Association, Las Vegas, NV.


 Morales, Maria Cristina, Ted Curry, Harmon Hosch. 2015. “Perceptions of Neighborhood
 Policing.” Southwestern Sociological Association, Denver, CO.


 Morales, Maria Cristina. 2014. “Utilizing a Mix-Method Approach to Conceptualize Immigrant
 Neighborhoods.” American Sociological Association, San Francisco, CA.

 Hernández, Jorge [student], Brian Tebay [student], and Maria Cristina Morales. 2014.
 “Conceptualizing Immigrant Neighborhoods in a Study of Crime.” Southwestern Sociological
 Association, San Antonio, TX.

 Morales, Maria Cristina. 2013. "Interactive Online Learning: Exploring New
 Directions for Teaching Sociological Methods and Statistics," Southwestern
 Sociological Association, New Orleans, LA.

 Menchaca, Angelica [student] and Maria Cristina Morales. 2013. "The Unconquerable War,"
 Southwestern Sociological Association, New Orleans, LA.

 Morales, Maria Cristina, Oscar Morales [student], Angelica Menchaca [student]. 2012.
 “Refugees without Status: Economic Disparities and Escaping the Violence in Mexico.”
 Southwestern Sociological Association, San Diego, CA.

 Morales, Maria Cristina. 2011. “Latina/o Immigrant Construction Workers and Gendered Patters
 of Exploitation and Resistance in Sin City.” American Sociological Association, Las Vegas, NV.

 Angelica Menchaca [student], Maria Cristina Morales, and Oscar Morales [student]. 2011.
 “”Amor Por Juárez:” State Sanctioned Violence along the Mexico-U.S. Border.” Southwestern
 Sociological Association, Las Vegas, NV.

 Morales, Maria Cristina. 2010. “Migrant Construction Workers in Sin City: Gendered Violence
 and Agency.” Southwestern Sociological Association. Houston, TX.

 Morales, Maria Cristina. 2009. “The Acclimatization of Immigrant Social Networks to Economic
 Restructuring: Social Capital in the Construction Industry.” American Sociological Association.
 San Francisco, CA.

 Morales, Maria Cristina. 2009. Panel on “Trans-Nation Sexual and Gendered Violence.” Mujeres
 Activas en Letras y Cambio Social (MALCS).

 Morales, Maria Cristina, Lorena Murga, and Marisa Sanchez [student]. 2009. “Immigrant
 Mobilization and Ethnicity: An Example of the Citizenship Divide.” Southwestern Sociological
 Association. Denver, CO.
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 Morales, Maria Cristina. 2008. “Ethnic Networks in the Context of Globalization.” The Society
 for the Study of Social Problems. Boston, MA.

 Sáenz, Rogelio, Lorena Murga, and Maria Cristina Morales. 2008. “Immigrant Niche
 Employment and Wages among Mexican Immigrant Women on the Border.” American
 Sociological Association. Boston, MA.

 Morales, Oscar [student] and Maria Cristina Morales. 2008. Transnational Labor Processes at the
 U.S.-Mexico Border. Southwestern Sociological Association. Las Vegas, NV.

 Leyva, Yolanda Chavez, Cristina Morales, Guillermina Gina Nunez-Mchiri, and Julia Maria
 Schiavone Camacho. 2008. "Chicanas Thriving in the Academy: Strategies from a Chicana
 Writing Circle” National Association of Chicana and Chicano Studies. Austin, TX.

 Leal, Emmanuel [student] (in place of Juan Espinoza Cuellar), Cristina Morales, Anita Revilla,
 and Yolanda Vazquez. 2008. “Si Se Puede: Furthering Immigrant Rights Discourses to Include
 Law, Gender, and Sexuality.” National Association of Chicana and Chicano Studies. Austin,
 TX.

 Morales, M. Cristina. 2007. “The Consequences of Limited Opportunities: The Influence of
 Ethnicity on Latina/o Wage Workers.” American Sociological Association. New York City, NY.

 Morales, M. Cristina. 2007. “Who is an Immigrant? Contemporary Movements, Community, and
 the Worker.” Southwestern Sociological Association. Albuquerque, NM.

 Morales, Cristina. 2006. “Immigrant Labor and the Restructuring of Las Vegas.” LATCRIT
 (Latina and Latino Critical Race Theory), Las Vegas, NV.

 Morales, Maria Cristina. 2006. “Boundaries of Ethnic Solidarity: Stratification and Wage
 Differentials in Latina/o Ethnic Niches.” American Sociological Association, Montreal, Canada.

 Morales, Maria Cristina and Rogelio Sáenz. 2006. “The Effects of Labor Force Participation on
 Family Income among Chinese and Mexican Immigrant Women to the United States,”
 Migration, Urbanization and Human Ecology Session." International Sociological Association.
 Durban, South Africa.

 Morales, Maria Cristina. 2006. “La Violencia Contra Las Mujeres de Juarez: A Theoretical and
 Grassroots Perspectiva from Las Vegas and El Paso.” National Association for Chicana and
 Chicano Studies, Guadalajara, Mexico.

 Morales, Maria Cristina. 2006. “The Citizenship Divide: Coalition Building and the
 Conceptualization of Latina/o Co-Ethnicity.” National Association for Chicana and Chicano
 Studies, Guadalajara, Mexico.

 Morales, Maria Cristina and Rogelio Sáenz. 2006 . “Construction Industrial Niches, Economic
 Rewards or Discrimination? Mexican-Origin Wage Differentials,” Southwestern Sociological
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 Association. San Antonio, TX.

 Embrick, David G., Rogelio Sáenz, and Maria Cristina Morales. 2006. “West Indies and
 Caribbean Immigrants Earnings in the United States: The Penalties Associated with English
 Proficiency and Racial Self Identification,” Population Association of America. Los Angeles,
 CA.

 Invited Presentations (since 2006)

 Morales, Maria Cristina. 2020. “Citizenship Profiling and Diminishing Police Legitimacy: A
 Multilevel Study of Trust and Cooperation with Police in an Era of Immigration Enforcement.”
 University of Utah [proponed due to COVID-19]

 Morales, Maria Cristina. 2019. Author Meets Critic Session for Edward Telles and Christina
 Sue’s Durable Ethnicity: Mexican Americans and the Ethnic Core. Southwestern Sociological
 Association, San Diego, CA.

 Morales, Maria Cristina and Ted Curry. 2019.” El Paso as a Safe City.” Trauma, Resistance, and
 Resilience, University of Texas at El Paso.

 Morales, Maria Cristina. 2019. “What is your Citizenship?” Texas A&M University Colloquium,
 College Station, Texas.

 Morales, Maria Cristina. 2018. Author Meets Critic: Bhoomi Thakore’s South Asians on the
 U.S. Screen: Just Like Everyone Else? Southwestern Sociological Association, Orlando, FL.


 Morales, Maria Cristina. 2018. “English-Spanish Linguistic Acculturation and Occupational
 Access at the U.S.-Mexico Border.” Language at Work Conference. Tarragona, Spain.

 Morales, Maria Cristina. 2017, 2018. What is Your Citizenship? Guest Lecturer for Mark Lusks
 MSW Border Course. University of Texas at El Paso.

 Morales, Cristina. 2015. Nadia Flores-Yeffal’s Migrant Trust Networks. Author Meets Critic.
 Southwestern Sociological Association, Denver, CO.

 Morales, Maria Cristina. 2014. Orientation for Minority Fellows Program of the American
 Sociological Association, American Sociological Association Annual Meeting, San Francisco,
 CA.

 Morales, Maria Cristina. 2014. Discussant. “Border Legacy,” American Sociological
 Association, San Francisco, CA.
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 Morales, Maria Cristina. 2014. Author Meets Critics. Nancy Plankey Videla's We are in this
 Dance Together: Gender, Power, and Globalization at a Mexican Garment Firm. Southwestern
 Sociological Association, San Antonio, TX.

 Morales, Maria Cristina and Claudia Rojas. 2013. Online Data Modules: Understanding Data
 Analysis. Texas Higher Education Coordinating Board, Austin, TX.

 Morales, Maria Cristina. 2013. Panelists. Low Wage Work and Worker Organizing Conference.
 University of California Los Angeles.

 Morales, Maria Cristina. 2013. Book panel. "Analyzing Conquest through a Border Lens:
 Vulnerable Communities at the Mexico-U.S. and Moroccan-Spanish Border Regions", New
 Mexico State University and University of Texas at El Paso.

 Morales, Maria Cristina and Leticia Saucedo. 2012. "The Assimilation Patterns of
 Undocumented Construction Workers.” Immigration & Poverty Conference, University of
 California Davis.

 Morales, Maria Cristina. 2011. “Border Sexual Conquest en El Movimiento” Community Panel
 for El Movimiento Del Pueblo, El Paso, TX.

 Morales, Maria Cristina. 2011. “Social Capital and Ethnic Mobility Entrapment.” Center for
 Inter-American Border Studies, UTEP, El Paso, TX.

 Morales, Maria Cristina. 2010. “Border Enforcement and It’s Impact on Immigrants” Listening
 Session on the State of Human Rights at the Border, El Paso, TX.

 Morales, Maria Cristina. 2009. “Independent Contracting: A form of Ethnic Entrepreneurship or
 Ethnic Mobility Entrapment” Hispanic Entrepreneurship Conference. UTEP.

 Morales, Cristina. 2008. Panel on Immigrant Women. J. Paul Taylor Social Justice Symposium:
 Justice for Immigrants. New Mexico State University.

 Morales, Cristina. 2007. ¡Justicia en Juárez! Gender Violence, Maquiladoras, and Border
 Research. Texas A&M University.

 Morales, M. Cristina. 2007. Panel on Preparing For and Succeeding in Graduate School.
 Southwestern Sociological Association. Albuquerque, NM.

 Morales, M. Cristina. 2007. Panel on Preparing For and Traversing the Academic Job Market.
 Southwestern Sociological Association. Albuquerque, NM.

 Morales, Cristina. 2006. Immigration Night. University of Colorado at Boulder. Boulder, CO.

 Morales, Cristina. 2006. Immigration History and Social and Economic Contribution. Latina/o
 New Leadership. Las Vegas, NV.
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 Morales, Cristina. 2006. Educational Forum on Immigration. Las Vegas, NV.

 Morales, Cristina and Anita Revilla. 2006. The Desert Must No Longer Swallow the Dead: The
 Murders of Women in Juarez, Mexico. University Lecture Series, University of Nevada Las
 Vegas.

 Conference Attended

 Council of Colleges of Arts and Sciences, Atlanta, GA. 2019

 Faculty Advisor for Student Groups

 Soñando Juntos (DACA student association) (faculty advisor) 2017-2018.

 Sociology Club (founder and faculty advisor) 2013-2018.

 Young Democratic Socialists (faculty advisor) 2014-2015.

 Jovenes Fronterizos Por El Mismo Sueno/ Border Youth for the Same Dream (co-founder and
 faculty advisor) 2008-2013.

 Student Committees

 M.A. Committee Chair

 Acosta, Ana. Master’s Thesis Committee Co-chair. “ Impact of Patient Demographics and
 Insurance on Hospital Discharge Planning.” (Completed 2018).

 Beltran, Eric. Master’s Thesis Committee Chair. “ Gender and Educational Achievement of
 Transnational Students.” In process. (Fall 2015-present).

 Castillon, Tali, Master’s Thesis Committee Chair. “Quantitative Analysis of Familism and
 Domestic Violence among Latinos.” In-Process. (Fall 2014-2017 (dropped)).

 Chavez, Mario, Master's Thesis Committee Chair, "Employment patterns employed by
 DACA recipients: What are the impacts of social capital on DACA recipient’s employment
 patterns?", In-Process. (January 2013 – May 2015).

 Choden, Jigme. Thesis Committee Chair, “The Acculturation of Bhutanese Students” [tentative
 title], in-progress (September 2016- 2017).

 Diaz, Selene, Master’s Thesis Committee Chair, "The Impact of Popular
 Music on Youth at the USA-Mexico Border." (January 2013 – May 2015).
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 Gonzalez, Enrique. Master’s Thesis Committee Chair. “Street Culture: The Prevalence in Code
 of the Street in Border Community Neighborhoods. Proposal April 2018.

 Magaña, Sergio. Master’s Thesis Chair, Alternative Social Networks of Homosexual
 Immigrants. Proposal defense January 2009 but not completed.

 Menchaca, Angelica. Master's Thesis Committee Chair. “When Medicine Divorces Morality:
 The Effects of Immigration Status on Health Care Access in the United States.” (November
 2011- May 2013).

 Ramirez, Sandra, Master’s Thesis Committee Chair, The Latina/o Mental Health Paradox
 Revisited: Disparities and Depression among New Immigrants. (2008-2010).

 Rivas, Guillermo, Master’s Thesis Committee Chair, The Persistent Fear of Crime in a Safe
 Metropolitan Area: Revisiting the Social Disorganization Theory. (Summer 2014 -2017).

 Serna, Heryca. Sociology and Anthropology, Master's Thesis Committee Chair, SOCI, 5398,
 "Impact of Federal Agencies at the U.S.-Mexico Border on Undocumented Immigrant Domestic
 Violence Victims: Limitations to Recovery", Completed. (January 2011 - August 2012).

 Smith, Jesus. Sociology and Anthropology, Master's Thesis Committee Chair, SOCI, 5398, 3
 credit hours, "Sexual Racism in a Gay Community", Completed. (January 2011 - May 2012).

 Committee Member

 Alvarez, Miriam. Master’s Thesis Committee Member. "The Impact of Bicultural Identity on
 Academic Engagement. (Spring 2015).

 Cabrera, Jose. Master of Arts in Interdisciplinary Studies (MAIS), Master's Thesis Committee
 Member. (January 2013 – May 2014).

 Chavez, Paula. Master's Thesis Committee Member. (May 2013 - December 2013).

 Delgado, Mario. Sociology and Anthropology, Master's Thesis Committee Member, (May 2014 -
 Dropped).

 Gracia, Marilyn. Master’s Thesis Committee Member. The Paradoxical Experiences of Young
 Hispanic College Students: Age-Related Stigma in the Face of Success.” (Defended Thesis April
 2018).

 Hawley, Jacqueline. Sociology, Causes and Effects of Migration in Central American Children,
 Completed. (Fall 2008).

 Hernandez, Jorge. Immigration and Family Violence at the Household Level: Evaluating the
 Effects of Immigrant Culture and Neighborhood Structure, Master's Thesis Committee Member,
 In-Process. (June 2013 – May 2015).
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 Lavin, Grace, Master's Thesis Committee Member. “The Thin Body, The Able Body, and The
 Student of Color Athlete: Physical Capital in University Viewbooks.” (April 2017 – 2018).

 Lopez, Ruth. Racial Differences between Smokers and Non-Smokers: The Effect of Smoking
 Policies at Work. Department of Sociology, M.A. Thesis. 2006.

 Loweree, Jacqueline. Sociology and Anthropology, Master's Thesis Committee Member, “One
 Size Does Not Fit All: Looking Beyond Homeless Housing-First and Housing-Ready
 Approaches to Enhanced Models of the U.S./Mexico Border and New York City.” Completed.
 Proposal. (December 2014 – May 2015).

 Loya, Rosa Lorena. A Typical Scene in Mexico: Perceptions of the Other. Department of
 History, M.A. thesis. (2008-2010).

 Marquez-Velarde, G. Sociology and Anthropology, Master's Thesis Committee Member,
 "Mental Health in Colonias." (March 2011 - May 2013).

 Martin, Levi. English--Rhetoric and Writing Studies, Dissertation Defense Committee Member,
 "Perceptions on Collaborative Writing", Proposal. (December 2014 - 2017).

 Mendoza, Juan. Sociology, Transnational Students and Citizenship. 2019.

 Mendoza, Nydia. Sociology, Children’s Chronic Illness and Family Poverty on the U.S./Mexico
 Border. 2008.

 Ochoa, Olga. Sociology and Anthropology, Master's Thesis Committee Member. (January 2014
 – May 2015).

 Ramos, Corin., Psychology, Master's Thesis Committee Member, (August 2013 – May 2014).

 Rocha, Claudia. 2008. Gottfredson and Hirschi’s Low-Self-Control Theory. (Spring 2008).

 Romo, David. History, Dissertation Defense Committee Member, "Global MicroHistory of El
 Paso and Juarez", Completed. (December 2014).

 Romero, Samantha, Master’s Thesis Committee Member, “Youth Voter Participation in El Paso
 County,” Completed (2016-2020).

 Super, Matthew. Sociology. Why You Might Steal from Jay-Z: An Examination of File Sharing
 Using Techniques of Neutralization Theory. (Spring 2008).

 Uribe, Maria. Sociology. Understanding Deviant Behaviors through Coercion and Social
 Support Theory. Completed. (Summer 2008).
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 Varela, Juan. History, Master's Thesis Committee Member. (August 2013 - December
 2013).

 Winter, Bryan. History. Master’s Thesis Committee Member. Rural to Urban Migration
 in China. 2012.

 Independent/Directed Studies

 Alvarez, Mariah. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 “Acculturation of Bhutanese Students” (January 2017-present).

 Bautista, Miguel. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime." (January 2014 - May 2014).

 Brooks, Tierra. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime." (June 2014 - August 2014).

 Castillon, Tali. Directed Individual/Independent Study, SOCI, 5390, 3 credit hours,
 "Immigration and Crime". (June 2014 - August 2014).

 Chacon, Cirenia. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime." (January 2014 - May 2014).

 Crespo, Pastor. Directed Individual/Independent Study, SOCI 4390, 3 credit hours, “Alternative
 Education and Latinxs.” (Summer 2019, Fall 2019).

 Diaz, Selene. Directed Individual/Independent Study, SOCI, 5390, 3 credit hours, "Immigration
 and Crime." (January 2014 - May 2014).

 Edwards, Nicole. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime". (June 2014 - August 2014).

 Fontan, Gabriel., Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime." (January 2014 - May 2014).

 Flores, Marco. Directed Individual/Independent Study, SOCI, 4390, "Immigration and
 Crime."(June 2014 - August 2014).

 Garcia, Daniel. Directed Individual/Independent Study, ANTH, 3379, 3 credit hours,
 "Immigration and Crime." (June 2014 - August 2014).

 Garcia, Gisselle. 2018-2019. “Influence of Body Mass Index (BMI) on Adolescent
 Depressive Behavior.” Building Scholars, UTEP.

 Mandujano, V. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours,
 "Immigration and Crime." (June 2014 - August 2014).
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 Mendoza, Juan. Directed Individual/Independent Study, 5390, 3 credit hours, “Transnational
 Students.” (January 2017-present).

 Morales, Oscar. Directed Individual/Independent Studies. “Border Violence.” (January 2011 -
 December 2013).

 Murillo, Eric. Directed Individual/Independent Study, SOCI, 5390, 3 credit hours, "Wage Theft
 along the Borderlands." (August 2014 - Present).

 Ramos, Corin. Directed Individual/Independent Study, SOCI, 5390, 3 credit hours, "Immigration
 and Crime." (January 2014 - May 2014).

 Reyna, Irvin. Directed Individual/Independent Study, SOCI, 4390, "Wage Theft along the
 Borderlands." (September 2014 - December 2014).

 Rivas, Guillermo. Directed Individual/Independent Study, SOCI, 5390, 3 credit hours,
 "Immigration and Crime." (January 2014 - May 2014).

 Rodriquez, Crystal. Individual Studies, SOCI 5390.3 credit hours, “Latina/os and Perceptions of
 Policing. (Fall 2020).

 Salazar, Rebecca. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours, "The
 Walmart Shootings.” (Spring 2020).

 Sanchez, Annette D. Directed Individual/Independent Study, SOCI, 4390, 3 credit hours, "Autism
 in the Borderland: Exploring Interventions and Culture Through the Lens of a Local Behavior
 Interventionist." (Summer 2019).

 Segura, Angela. Directed Individual/Independent Study, “Borders and Social Processes.” (Fall
 2018).

 Zuniga, Miguel. Directed Individual/Independent Study, SOCI, 4390, "Immigration and Crime."
 (June 2014 - August 2014).

 Internship Advisor

 Cereceres, Jonathan. Internship Advisor. State Representative César J. Blanco's District Office.
 Spring 2019.


 Diaz, Selene. Internship Advisor. El Paso County Probation. Spring 2014.

 Epperson, Victoria. Internship Advisor, Internship Advisor. Columban Border Ministry
 Center. Completed. (September 2013 - December 2013).
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 Sáenz, Dayan. Internship Advisor, Las Americas. (August- December 2015).

 Sanchez, Annette. Internship Advisor, Summer 2019.

 Sudderth, Charlotte L. Internship Advisor. Gardening as an Educational Tool. Socorro
 Independent School District. (January 2017- May 2017).

 Sudderth, Charlotte L. Internship Advisor. Nutrition and Social Compliance. Socorro
 Independent School District. (January 2018- May 2018).

 Zuniga, Miguel. Internship Advisor, El Paso County Probation and Child Crisis Center.

 Research Funded Mentorship

 Garcia, Rudy. Mentor. Building Scholars, 2021.

 Hernandez, Jorge. Research Assistant. National Science Foundation. Extension Grant, 2014.

 Rodriguez, Crystal. Mentor. Research Experience for Undergraduates. National Science
 Foundation. UTEP. Summer 2019.

 Melendez, Rebecca. Mentor. Research Experience for Undergraduates. National Science
 Foundation. NMSU. Summer 2019.

 Garcia, Gisselle. Thesis Advisor. Building Scholars.

 Courses Taught
 Advanced Measure of Inference (Graduate Statistics)
 Chicana/os and Mexicans in the United States
 Introduction to Sociology [onsite and online]
 Measure/Inference-Social Research (Statistics) [onsite and online]
 Migration (Undergraduate)[onsite and online]
 Special topic: International Migration (Graduate)
 Special topic: Visual Sociology
 Social Inequality [onsite and online]

 Interests/Areas
 Sociology of Latinxs
 Sociology of Punishment
 International Migration
 Intersectionality: Race, Class, Gender, Sexuality, Citizenship, and Locality
 Structural Violence
 U.S.-Mexico Border

 Academic Service
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 Profession

 Organizational Positions

 Past-President. Executive Council. 2019-2021. Southwestern Sociological Association.

 President. 2018-2019. Southwestern Sociological Association.

 Session organizer and chair. 2019. American Sociological Association.

 Vice President 2018. Southwestern Sociological Association.

 Vice President Elect. 2016-2017. Southwestern Sociological Association.

 Chair of Student Awards. 2016-2017. Southwestern Sociological Association.

 Chair of Student Awards. 2015-2016. Southwestern Sociological Association.

 Executive Council 2012-2015. Southwestern Sociological Association.

 Executive Council. 2010-2012. Southwestern Sociological Association.

 Committee. 2008-2009. Norma Williams Award Committee. Southwestern Sociological
 Association.

 Executive Council Member. 2006-2008. Southwestern Sociology Association.

 Graduate Student Representative on the Executive Council. 2003-2004. Southwestern
 Sociological Association.

 Sessions Chaired/Organized/Presided (since 2006)

 Organizer. 2019. Latina/os. American Sociological Association.

 Organizer. 2018. International Migration to the U.S. American Sociological Association.

 Organizer. 2016. U.S.-Mexico Border Relations. Southwestern Sociological Association

 Organizer. 2015. Latina/os., Sessions I-VI. Southwestern Sociological Association.

 Organizer. 2015. Mexico-U.S. Border Studies. Southwestern Sociological Association.

 Organizer. 2013. Law and Marginality, Sessions I and II. Southwestern Sociological Association.

 Organizer. 2013. Mexico-U.S. Border Studies. Southwestern Sociological Association.
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 Organizer. 2013. Law and Marginality, Sessions I and II. Southwestern Sociological Association.

 Organizer. 2013. Mexico-U.S. Border Studies. Southwestern Sociological Association.

 Organizer. 2012. U.S.-Mexico Border Studies. Southwestern Sociological Association.

 Organizer. 2012. Migration. Southwestern Sociological Association.

 Organizer. 2011. Transnational Communities Panel. American Sociological Association.

 Organizer. 2011. Migration Panel. Southwestern Sociological Association.

 Organizer. 2011. U.S.-Mexico Border Panel. Southwestern Sociological Association.

 Organizer. 2010. Migration, Sessions I and II. Southwestern Sociological Association.

 Organizer. 2009. International Migration Panel. Southwestern Sociological Association.

 Organizer. 2008. Immigration and Politics Panel. American Sociological Association.

 Organizer. 2008. Migration and Immigration Panel. Southwestern Sociological Association.

 Organizer. 2007. Migration and Immigration Panel. Sessions I and II. Southwestern Sociological
 Association.

 Organizer. 2007. Preparing for Graduate School Panel. Southwestern Sociological Association.

 Organizer. 2007. Preparing for the Academic Job Market Panel. Southwestern Sociological
 Association.

 Reviewer

 Reviewer Journals
 Gender & Society
 International Migration Review
 Law and Social Inquiry
 Population Review
 Social Forces
 Social Science Quarterly
 Sociological Forum
 Sociology of Race and Ethnicity
 Work and Occupations
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 Reviewer Proposals

 Ford Foundation Reviewer 2015-2017


 College of Liberal Arts and University Service (since 2006)

 Associate Dean for Research, College of Liberal Arts, 2019-present.

 ROTA, Reviewer. 2021.

 Member, 2020-present. Interdisciplinary Research and Education Program (IDRE) Council.

 Mentor, National Science Foundation REU Summer Program, 2018, 2019.

 Reviewer, University of Texas Regents Outstanding Teaching Award, 2019.

 Member, College of Liberal Arts Dean Search, 2017-2018.

 Member, Criminal Justice Department, Promotion and Tenure, 2018.

 Mentor, College Assistance Migrant Program (CAMP), 2017.

 College of Liberal Arts Representative, Green Dot Training. 2017.

 Member, Old Main Centennial Celebration. 2016.

 Member, Liberal Arts Graduate Student Paper Competition. 2017.

 Member, Liberal Arts Promotion and Tenure Committee. 2016 and 2018.

 Member, Provosts Taskforce for Community Engagement. 2012.

 Rainbow Miners Advisory Board. University of Texas at El Paso. 2009.

 Grant Reviewer. Hispanic Health Disparities Research Center (HHDRC). University of Texas at
 El Paso. 2009.

 Reviewer of Graduate Applications. Latin American and Border Studies. University of Texas at
 El Paso. 2008.

 Reviewer for Honors Thesis Award. College of Liberal Arts, University of Texas at El Paso.
 2007.

 Department Service (since 2006)
Case 3:21-cv-00259-DCG-JES-JVB             Document 967-1        Filed 05/09/25     Page 30 of 95

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 Hiring Committee for Administrative Assistant. Department of Sociology and Anthropology.
 University of Texas at El Paso, 2020.

 Search Committee, Environmentalist, Department of Sociology and Anthropology. University of
 Texas at El Paso. 2019-present.

 PhD Proposal Committee. Developed the mini-proposal for a PhD in Sociology, 2019-present.

 Tenure and Promotion Committee, 2012- present

 Committee on the Future of the Department. Department of Sociology and Anthropology.
 University of Texas at El Paso. 2015-2016.

 Graduate Committee. Department of Sociology and Anthropology. University of Texas at El
 Paso. 2011-2019.

 Search Committee. Department of Sociology and Anthropology. University of Texas at El Paso.
 2011.

 Graduate Recruitment Session. Department of Sociology and Anthropology. University of Texas
 at El Paso. 2011.

 Library Liaison. Department of Sociology and Anthropology. University of Texas at El Paso.
 2007-present.

 Search Committee. Department of Sociology and Anthropology. University of Texas at El Paso.
 2008-2009.

 Graduate Recruitment Committee. Department of Sociology and Anthropology. University of
 Texas at El Paso. 2007-2008.

 Dia Unversitario (student recruitment in Juárez). University of Texas at El Paso. 2008.

 Public Sociology (since 2006)

 Interview. Latina/o Health Paradox, KFOX, 2021.

 Interview. Derrick Chauvin Trail, KTSM. 2021.

 Member, El Paso Police Accountability Taskforce, 2020-present.

 Member, U.S. - Mexico Central Border: Children’s Working Group, 2020-present.

 Interviews. Walmart Shooting. El Paso Times and Washington Post, 2020.

 Interview. Latina/os and COVID-19. KTSM, 2020.
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 Community Presentation. School Closures in the Barrio. Familias Unidads del Chamizal, La
 Mujer Obrera, June 2019.

 Presentation. Morales, Cristina and Ted Curry. 2019. “El Paso as a Safe City.” Trauma and
 Resilience Conference, the University of Texas at El Paso.

 Community Educational Campaign, 2020 U.S. Census Campaign, “We Count because We
 Count,” Border Network for Human Rights, El Paso and Southern New Mexico, 2019-present.

 Interview. Domestic Workers along the Border, Borderzine, 2019.

 Interview. Border Wall and Border Enforcement, NPR, 2019.

 Interview. Citizenship Profiling. Univision and KTSM, 2018.

 Community Presentation. Border Deaths. Public Tribunal on Border/Immigration. El Paso,
 Texas, 2018.

 Consultant (non-paid). Texas Department of Public Safety Racial Profiling along the Texas
 Border, Public Research Project, Border Network for Human Rights, 2015-2017.

 Consultant (non-paid). Tornillo (Colonia in Texas) Accessibility, Costs, and Quality of Water,
 Public Research Project, 2014.

 Morales, Maria Cristina, Eric Murillo [student], and Chris Benoit. “El Paso’s Newest Crime
 Wave: A Wage Theft Epidemic.” http://www.texascivilrightsproject.org/. [No longer publicly
 available], 2011.

 Consultant (non-paid). 2009-2015. Economic Justice Project. Paso del Norte Civil Rights
 Project. Resulted in a city ordinance against wage theft.

 Consultant (non-paid). Service Employees International Union (SEIU) Houston Airport Study,
 Public Research Project, 2015.

 Interview. Migration Issues. KFOX. January 8, 2010.

 Member. Border and Immigration Task Force. Border Network for Human Rights, 2006-2008.

 Consultant (non-paid). Advisor on immigration reform for Jack Carter running for the Senate in
 Nevada. Las Vegas, NV, 2006.
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 Texas House District 44
 SES Characteristics




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 Texas House District 129
 SES Characteristics




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 Texas House District 138
 SES Characteristics




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 Senate District 28
 SES Characteristics




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 Senate District 9
 SES Characteristics




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 State Board of Education District 6
 SES Characteristics




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 Congressional District 27
 SES Characteristics




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 Congressional District 37
 SES Characteristics




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 Congressional District 38
 SES Characteristics




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     District   % est_poverty_Total       % est_poverty_NLWhite      % est_poverty_Latino
27                               14.87%                      8.90%                     17.98%
37                               19.02%                     12.50%                     19.22%
38                               21.94%                      8.69%                     25.44%
                Case 3:21-cv-00259-DCG-JES-JVB         Document 967-1   Filed 05/09/25       Page 69 of 95


                                                                                                              %
     District   % est_LEP_Latino            % est_LEP_NLWhite           % est_LEP_Total
                                                                                                 est_SpanishSpeaker_LEP_Total
27                                 18.30%                       1.60%                     12.54%                       30.69%
37                                 44.25%                       2.43%                     31.99%                       50.47%
38                                 50.00%                       2.89%                     35.26%                       57.36%
                 Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1   Filed 05/09/25   Page 70 of 95


     District   % est_RentHH_Total       % est_RentHH_NLWhite      % est_RentHH_Latino
27                              38.82%                    31.05%                    42.05%
37                              47.72%                    35.02%                    47.45%
38                              45.86%                    32.13%                    48.10%
                  Case 3:21-cv-00259-DCG-JES-JVB       Document 967-1     Filed 05/09/25    Page 71 of 95


     District   % est_HSplus_Latino        % est_HSplus_NLWhite         % est_HSplus_Total
27                                72.57%                    94.33%                       82.07%
37                                48.99%                    88.92%                       63.28%
38                                54.93%                    92.30%                       68.46%
                    Case 3:21-cv-00259-DCG-JES-JVB   Document 967-1   Filed 05/09/25   Page 72 of 95


     District   % est_SpeakSpanish_Total
27                                  34.59%
37                                  60.12%
38                                  57.03%
                  Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1     Filed 05/09/25      Page 73 of 95


     District   % est_unemp_Latino        % est_unemp_NLWhite          % est_unemp_Total
27                                5.44%                     4.24%                          5.01%
37                                5.15%                     4.95%                          5.47%
38                                5.12%                     5.09%                          5.75%
                Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25      Page 74 of 95


     District   % est_fb_Latino            % est_fb_NLWhite            % est_fb_Total
27                                17.27%                      3.26%                     14.23%
37                                42.02%                      3.53%                     32.16%
38                                42.84%                      6.11%                     33.31%
               Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25    Page 75 of 95


   District   % est_poverty_Total       % est_poverty_NLWhite      % est_poverty_Latino
129                            16.50%                      9.66%                     16.78%
138                            22.24%                     10.39%                     25.96%
44                             14.57%                     11.25%                     15.69%
             Case 3:21-cv-00259-DCG-JES-JVB         Document 967-1   Filed 05/09/25       Page 76 of 95


                                                                                                           %
  District   % est_LEP_Latino            % est_LEP_NLWhite           % est_LEP_Total
                                                                                              est_SpanishSpeaker_LEP_Total
129                             31.56%                       1.69%                     24.45%                       38.56%
138                             56.51%                       4.08%                     43.33%                       64.25%
44                              20.39%                       1.00%                     12.72%                       31.87%
               Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1   Filed 05/09/25   Page 77 of 95


   District   % est_RentHH_Total       % est_RentHH_NLWhite      % est_RentHH_Latino
129                           46.74%                    40.08%                    45.93%
138                           38.81%                    26.49%                    41.01%
44                            35.34%                    35.66%                    34.55%
                Case 3:21-cv-00259-DCG-JES-JVB       Document 967-1     Filed 05/09/25    Page 78 of 95


   District   % est_HSplus_Latino        % est_HSplus_NLWhite         % est_HSplus_Total
129                             64.40%                    93.95%                       74.34%
138                             51.01%                    89.26%                       64.13%
44                              70.39%                    95.31%                       81.17%
                  Case 3:21-cv-00259-DCG-JES-JVB   Document 967-1   Filed 05/09/25   Page 79 of 95


   District   % est_SpeakSpanish_Total
129                               49.93%
138                               59.81%
44                                37.41%
                Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1     Filed 05/09/25      Page 80 of 95


   District   % est_unemp_Latino        % est_unemp_NLWhite          % est_unemp_Total
129                             7.04%                     4.93%                          7.48%
138                             4.71%                     7.43%                          5.51%
44                              4.85%                     4.46%                          4.85%
              Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25      Page 81 of 95


   District   % est_fb_Latino            % est_fb_NLWhite            % est_fb_Total
129                             35.24%                      3.81%                     29.63%
138                             45.29%                      6.56%                     38.37%
44                              18.77%                      1.77%                     13.22%
                Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25    Page 82 of 95


    District   % est_poverty_Total       % est_poverty_NLWhite      % est_poverty_Latino
6                               20.87%                     10.75%                     23.38%
               Case 3:21-cv-00259-DCG-JES-JVB         Document 967-1   Filed 05/09/25       Page 83 of 95


                                                                                                             %
    District   % est_LEP_Latino            % est_LEP_NLWhite           % est_LEP_Total
                                                                                                est_SpanishSpeaker_LEP_Total
6                                 43.93%                       2.88%                     31.84%                       51.78%
                Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1   Filed 05/09/25   Page 84 of 95


    District   % est_RentHH_Total       % est_RentHH_NLWhite      % est_RentHH_Latino
6                              49.41%                    33.60%                    50.65%
                 Case 3:21-cv-00259-DCG-JES-JVB       Document 967-1     Filed 05/09/25    Page 85 of 95


    District   % est_HSplus_Latino        % est_HSplus_NLWhite         % est_HSplus_Total
6                                56.78%                    91.50%                       69.64%
                   Case 3:21-cv-00259-DCG-JES-JVB   Document 967-1   Filed 05/09/25   Page 86 of 95


    District   % est_SpeakSpanish_Total
6                                  53.72%
                 Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1     Filed 05/09/25      Page 87 of 95


    District   % est_unemp_Latino        % est_unemp_NLWhite          % est_unemp_Total
6                                6.16%                     5.92%                          6.63%
               Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25      Page 88 of 95


    District   % est_fb_Latino            % est_fb_NLWhite            % est_fb_Total
6                                42.13%                      6.80%                     34.67%
                 Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25    Page 89 of 95


     District   % est_poverty_Total       % est_poverty_NLWhite      % est_poverty_Latino
28                               15.71%                     10.33%                     17.67%
9                                20.01%                     13.95%                     19.85%
                Case 3:21-cv-00259-DCG-JES-JVB         Document 967-1   Filed 05/09/25       Page 90 of 95


                                                                                                              %
     District   % est_LEP_Latino            % est_LEP_NLWhite           % est_LEP_Total
                                                                                                 est_SpanishSpeaker_LEP_Total
28                                 19.56%                       1.07%                     12.20%                       31.57%
9                                  43.98%                       2.42%                     31.13%                       50.24%
                 Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1   Filed 05/09/25   Page 91 of 95


     District   % est_RentHH_Total       % est_RentHH_NLWhite      % est_RentHH_Latino
28                              40.08%                    36.59%                    40.40%
9                               48.40%                    38.01%                    47.34%
                  Case 3:21-cv-00259-DCG-JES-JVB       Document 967-1     Filed 05/09/25    Page 92 of 95


     District   % est_HSplus_Latino        % est_HSplus_NLWhite         % est_HSplus_Total
28                                70.92%                    94.64%                       81.21%
9                                 48.33%                    88.04%                       62.98%
                    Case 3:21-cv-00259-DCG-JES-JVB   Document 967-1   Filed 05/09/25   Page 93 of 95


     District   % est_SpeakSpanish_Total
28                                  36.17%
9                                   59.18%
                  Case 3:21-cv-00259-DCG-JES-JVB      Document 967-1     Filed 05/09/25      Page 94 of 95


     District   % est_unemp_Latino        % est_unemp_NLWhite          % est_unemp_Total
28                                5.48%                     4.53%                          5.12%
9                                 5.17%                     5.21%                          5.76%
                Case 3:21-cv-00259-DCG-JES-JVB        Document 967-1   Filed 05/09/25      Page 95 of 95


     District   % est_fb_Latino            % est_fb_NLWhite            % est_fb_Total
28                                18.40%                      2.67%                     13.04%
9                                 41.77%                      3.16%                     31.10%
